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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
  ABDULLAH RABBAT,

                       Plaintiff,

  v.                                                     Case No: 6:17-cv-278-Orl-28KRS

  COVINGTON SPECIALTY INSURANCE
  COMPANY,

                       Defendant.


                                RELATED CASE ORDER
                               AND TRACK TWO NOTICE

         No later than fourteen days from the date of this Order, counsel and any pro se party

  shall comply with Local Rule 1.04(d), and shall file and serve a certification as to whether

  the instant action should be designated as a similar or successive case pursuant to Local

  Rule 1.04. The parties shall utilize the attached form titled Notice of Pendency of Other

  Actions. 1

         Additionally, in accordance with Local Rule 3.05, this action is designated as a

  TRACK TWO case. To facilitate the issuance of a Case Management and Scheduling

  Order within the time periods described in Fed. R. Civ. P. 16(b)(2), the parties shall conduct

  a case management conference no later than forty-five days 2 after service upon or

  appearance by any defendant. The Case Management Report (“CMR”) must be filed




         1 The form is also found on the Court’s website under “Judicial Information” for the
  Honorable John Antoon II.
         2 This forty-five day period supersedes the sixty days set forth in Local Rule

  3.05(c)(2)(B).
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  within seven days 3 of the case management conference.              The parties shall use the

  CMR form located at the Court’s website www.flmd.uscourts.gov under “Judicial

  Information” for the Honorable John Antoon II.

           In preparing their CMR, the parties shall consult the Federal Rules of Civil Procedure

  and      the   Local   Rules    (available   from    the   Clerk    of   the   Court   or    at

  http://www.flmd.uscourts.gov). Counsel and pro se parties share the obligation to timely

  comply with the requirements of Fed. R. Civ. P. 16(b)(2) and are reminded that they must

  do so despite the pendency of any undecided motions. If the parties fail to identify a

  mediator in their CMR, the Court will appoint one in the Case Management and Scheduling

  Order.

           Unless otherwise ordered by the Court, a party may not seek discovery from any

  source before the case management conference. Fed. R. Civ. P. 26(d); Local Rule

  3.05(c)(2)(B).    The filing party (that is, the party that instituted suit in this Court) is

  responsible for serving a copy of this Notice upon all other parties within fourteen days

  after the appearance of each party.

           DONE and ORDERED in Orlando, Florida, on February 17, 2017.




  Copies furnished to:
  Counsel of Record
  Unrepresented Parties




           3
           This seven day period supersedes the fourteen days set forth in Local Rule
  3.05(c)(2)(B).
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
ABDULLAH RABBAT,

                       Plaintiff,

v.                                                       Case No: 6:17-cv-278-Orl-28KRS

COVINGTON SPECIALTY
INSURANCE COMPANY,

                       Defendant.


                  NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

          IS           related to pending or closed civil or criminal case(s) previously filed
                       in this Court, or any other Federal or State court, or administrative
                       agency as indicated below:




          IS NOT       related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this Notice of Pendency of Other Actions
upon each party no later than fourteen days after appearance of the party.


Dated:



Counsel of Record or Pro Se Party
  [Address and Telephone]
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          Case 6:17-cv-00278-JA-KRS Document 4 Filed 02/17/17 Page 5 of 6 PageID 253

AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Middle District of Florida

                   ABDULLAH RABBAT
                              Plaintiff
                                                                         )
                                                                         )
                    v.                                                         Civil Action No.       6:17-cv-278-Orl-28KRS
                                                                         )
       COVINGTON SPECIALTY INSURANCE
                                                                         )
                 COMPANY
                                                                         )
                            Defendant



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

       You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

         Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties’ printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
       IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
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AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                  UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Middle District of Florida

                  ABDULLAH RABBAT
                            Plaintiff
                                                                        )
                                                                        )
                  v.                                                            Civil Action No. 6:17-cv-278-Orl-28KRS
                                                                        )
     COVINGTON SPECIALTY INSURANCE
                                                                        )
               COMPANY
                                                                        )
                          Defendant

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise
this authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to
have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

                Motions:




          Parties’ printed names                            Signatures of parties or attorneys                               Dates




                                                            Reference Order

      IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                   District Judge’s signature


                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
